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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                     CASE NO. 04-60001-CR-COOKE



   UNITED STATES OF AMERICA,
                   Plaintiff,
   vs.
   JOSE PADILLA, et al.,
                Defendants.
   _____________________________________/

                ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION
                 AND DENYING DEFENDANT’S MOTION TO SUPPRESS STATEMENTS

           THIS MATTER was referred to the Honorable Stephen T. Brown, United States Magistrate

   Judge, for a Report and Recommendation on Defendant Jose Padilla’s Motion to Suppress Statements,

   filed April 19, 2006 [D.E. 291]. On September 6, 2006, Judge Brown issued a Report and

   Recommendation in which he recommended that Defendant Jose Padilla’s Motion to Suppress

   Statements be denied [D.E. 549]. On September 26, 2006, Defendant Padilla filed his Objections to

   Judge Brown’s Report and Recommendation. This Court has conducted a de novo review of the record

   and the subsequent Objections, Response and Reply to Judge Brown’s Report and Recommendation, and

   finds as follows:

           I.      FACTS AND PROCEDURAL HISTORY

           Defendant Jose Padilla initially filed his Motion to Suppress Statements on April 19,

   2006 [D.E. 291]. In the Motion, Padilla seeks to suppress statements made to FBI agents at

   Chicago O’Hare International Airport. Padilla contends that the statements are inadmissible

   because the FBI agents failed to administer Miranda warnings prior to interrogating him. The



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   Government’s Response followed on May 4, 2006 [D.E. 318]. The Defendant subsequently

   submitted his Reply on May 17, 2006 [D.E. 344]. Judge Brown then conducted an evidentiary

   hearing on the motion on July 17, 18 and 20, 2006, and issued a Report and Recommendation

   denying the motion on September 6, 2006 [D.E. 549]. Consequently, Padilla filed his objections

   to the Magistrate Judge’s Report and Recommendation on September 26, 2006 [D.E. 577]. The

   Government followed with its Response on October 13, 2006 [D.E. 607], countered by Padilla’s

   Reply on November 9, 2006 [D.E. 653].

          This Court sees no reason to restate and rehash Judge Brown’s findings of fact. Rather,

   this Court fully adopts the facts set forth in Judge Brown’s Report and Recommendation. Judge

   Brown adjudicated over three days of Hearing testimony and reviewed the pleadings on this

   matter. Thus, Judge Brown, having sat through the hearings and listened to the testimony, is in a

   better position to weigh the credibility of the witnesses and the veracity of the evidence provided

   by both sides. The Report and Recommendation contains a concisely summarized reiteration of

   the pertinent facts surrounding this motion. Judge Brown’s findings and the inferences drawn

   from the uncontroverted testimony of the agents were both reasonable, logical and sound.

   Furthermore, as duly noted by Judge Brown, “[t]here was no evidence to counter that presented

   by the Government, despite the fact that Defendant could have testified at the hearing without

   that evidence being used against him at trial, other than possibly as impeachment.” Report and

   Recommendation [D.E. 549], Page 9. Thus, the persuasive import of the agents’ testimony is

   further buttressed by the utter lack of defense testimony or any other probative evidence to

   support defense allegations, aside from unsubstantiated assertions.




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          II.     LEGAL STANDARD

          In Miranda v. Arizona, 384 U.S. 436, the Supreme Court established a set of enumerated

   warnings required to be given suspects prior to custodial interrogation.1 Miranda’s safeguards

   are intended to protect against erosion of the accused’s constitutional rights to counsel and

   against self incrimination. The Court held that these warnings are “an absolute prerequisite to

   interrogation” and noted that “[w]ithout the protections flowing from adequate warnings and the

   rights of counsel, all the careful safeguards erected around the giving of testimony, whether by an

   accused or any other witness, would become empty formalities in a procedure where the most

   compelling possible evidence of guilt, a confession, would have already been obtained at the

   unsupervised pleasure of the police.” Id. at 466 (citations omitted). In instances where the

   accused is questioned or makes statements prior to being Mirandized, the crucial inquiry

   becomes whether the accused was faced with “custodial interrogation” at the time the statements

   were uttered. If the accused was indeed subjected to “custodial interrogation” in the absence of a

   Miranda warning, the fruit of such questioning will not be admissible as evidence. On the

   contrary, if the line of questioning does not qualify as “custodial interrogation,” then the

   statements are deemed admissible despite the lack of Miranda’s prophylactic safeguards.

          Thus, to ascertain whether an accused’s statements made in the absence of Miranda

   warnings will withstand admissibility attacks, the pivotal task becomes delineating precisely


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             Specifically, the Court held that the accused must be apprised “in clear and unequivocal
   terms that he has the right to remain silent[, . . . which] must be accompanied by the explanation
   that anything said can and will be used against the individual in court.” Miranda, 384 U.S. at
   467-69. Additionally, the Court explained that “[a]n individual held for interrogation must be
   clearly informed that he has the right to consult with a lawyer and to have the lawyer with him
   during interrogation.” Id. at 471.


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   what is meant by “custodial interrogation.” For the purposes of Miranda, a suspect is deemed to

   be placed in “custody” when there has been a “formal arrest or restraint on freedom of movement

   of the degree associated with a formal arrest.” California v. Beheler, 463 U.S. 1121, 1125 (1983)

   (quotation marks omitted); United States v. McDowell, 250 F.3d 1354, 1362 (11th Cir. 2001).

   To determine whether there has been a “restraint on freedom of movement of the degree

   associated with a formal arrest,” the court must consider “whether under the totality of the

   circumstances, a reasonable man in [defendant’s] position would feel a restraint on his freedom

   of movement to such extent that he would not feel free to leave.” United States v. Brown, 441

   F.3d 1330, 1347 (11th Cir. 2006). The test is an objective one; the actual subjective beliefs of

   the suspect and the officer conducting the questioning are irrelevant to the inquiry. See

   Berkemer v. McCarty, 468 U.S. 420, 442 (1984). Thus, “the reasonable person from whose

   perspective ‘custody’ is defined is a reasonable innocent person.” See Florida v. Bostick, 501

   U.S. 429 (1991). Likewise, the subjective beliefs of the questioning officer regarding whether

   the suspect is indeed free to go are irrelevant to the objective inquiry. Interrogation, in this

   context, occurs when law enforcement action is “reasonably likely to elicit an incriminating

   response.” See Rhode Island v. Innis, 446 U.S. 291, 301-02 (1980).



          Notably, and particularly instructive in this case, in United States v. Moya, 74 F.3d 1117

   (11th Cir. 1996), the Eleventh Circuit held that interrogation at the border constitutes a notable

   exception to the typical Miranda inquiry. Specifically, the Court held that due to the sovereign’s

   responsibility to protect and secure entry points into the United States, some degree of

   questioning and delay is necessary and expected at the border. Thus, “[b]ecause of this


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   expectation, questioning at the border must rise to a distinctly accusatory level before it can be

   said that a reasonable person would feel restraints on his ability to roam to the degree

   associated with formal arrest.” Id. at 1120 (emphasis added). Denying the defendant’s motion

   to suppress and affirming his conviction, the Eleventh Circuit drew a stark contrast between

   border interrogation and authoritative questioning in other contexts, and “stress[ed] that events

   which might be enough often to signal ‘custody’ away from the border will not be enough to

   establish ‘custody’ in the context of entry into the country.” Moya, 74 F.3d at 1120. See also

   United States v. Fernandez-Ventura, 132 F.3d 844 (1st Cir. 1998) (“The most significant

   circumstance is that this incident occurred in the course of a Customs inspection at our nation’s

   border. In the context of Custom’s inspections, our assessment of whether an interrogation is

   custodial must take into account the strong governmental interest in controlling our borders.”)

   (citations omitted).

          Factors considered by the court in Moya to determine under what circumstances border

   interrogation rises to an accusatory level include whether the suspect was: physically moved or

   restrained by officers during the interview, handcuffed or had guns drawn on him, booked or

   told of formal accusations, or told that he was under arrest. See Moya, 74 F.3d at 1119, see also

   McDowell, 250 F.3d at 1362 (noting the unique nature of an interrogation at the border and

   considering the same factors articulated in Moya to ascertain whether defendant was in ‘custody’

   prior to his arrest). Additionally, the court considers whether the suspect asked to leave or the

   officer told him he was not free to do so, or made admissions during the interview that would

   lead a reasonable person in his place to conclude that he would be arrested immediately. Id.

   Notably, the length of the questioning is not a dispositive factor when determining whether it


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   amounts to ‘custodial interrogation,’ and “there is no fixed limit to the length of questioning.”

   McDowell, 250 F.3d at 1363. The Eleventh Circuit specifically noted that when a suspect is

   prolonging the questioning by being deceitful or providing conflicting accounts of events, a

   prolonged interrogation is even more justifiable. See id. (holding that the four-hour duration of

   the inquiry did not convert it into a ‘custodial interrogation’).



          III.    ANALYSIS

          In order for Defendant Padilla’s airport statements to be suppressed on constitutional

   grounds, three requirements must be met. First, the officers must have questioned Padilla in the

   absence of constitutionally mandated Miranda warnings. Second, the questioning must have

   risen to the level of “interrogation.” Finally, if Padilla was indeed interrogated without first

   being Mirandized, he must show that the interrogation was custodial in nature. The Government

   concedes that the officers never administered Miranda warnings despite interrogating Padilla.

   Thus, the only issue left for resolution is whether the Magistrate Judge erred in ruling that the

   airport interrogation was not “custodial” in nature.

           Under Miranda, a suspect is placed in “custody” when there has been a “formal arrest or

   restraint on freedom of movement of the degree associated with a formal arrest.” Beheler, 463

   U.S. at 1125 (quotation marks omitted); McDowell, 250 F.3d at 1362. Since Padilla’s

   interrogation was not preceded by a formal arrest, for custody to attach in this case, Padilla’s

   freedom of movement would need to have been restrained to the degree associated with a formal

   arrest. To accurately assess whether Padilla’s freedoms were restrained in this fashion, the

   Magistrate correctly conducted a highly fact-specific inquiry in order to ascertain whether under


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   the totality of the circumstances, a reasonable man in Padilla’s position would feel a restraint on

   his freedom of movement to such extent that he would not feel free to leave. Brown, 441 F.3d at

   1347. The Magistrate accurately applied this objective test and disregarded the questioning

   agent’s subjective beliefs regarding whether he could compel Defendant’s testimony and/or had

   the ability to arrest Defendant. Since the objective test is not premised on a fully informed

   declarant, the interrogating agent was under no duty to inform Padilla of the material witness

   warrant and grand jury subpoena he had procured in anticipation of the questioning, or of his

   particular interest in speaking with Padilla.

          Additionally, the Magistrate correctly factored in the unique nature of this particular

   interrogation, namely, the fact that it was conducted at an entry point into the United States. The

   factors considered by the Magistrate to determine that Padilla’s border interrogation did not rise

   to a “distinctly accusatory level,” mirrored those considered by the Eleventh Circuit in Moya.

   Specifically, the following facts contributed to the Magistrate’s conclusion that Padilla was not in

   custody during his airport interrogation:

          he was not physically moved or restrained by officers on the way to the secondary
          interview; no handcuffs were employed and guns were not drawn; the defendant
          was not booked or told of formal accusations, nor told that he was under arrest;
          defendant did not ask to leave and the Inspector did not communicate to defendant
          that he was not free to do so; and the defendant made no admission during the
          interview that would have led a reasonable person in his place to conclude that he
          would be arrested immediately.

   Report and Recommendation [D.E. 549], Page 11

          The Magistrate’s findings of fact, premised on uncontroverted FBI agent testimony,

   suggest that Padilla was faced with many of the same conditions as the Defendant in Moya.

   These conditions, and the lack of evidence indicating restraint, were crucial to the Eleventh


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   Circuit’s decision that Moya was not in custody for Miranda purposes. Likewise, Judge Brown

   based his decision on his factual findings which suggested that the restraint on Padilla’s freedom

   did not rise to Miranda’s “custodial” level. The defendant was not restrained, handcuffed or

   physically moved at any time. The questioning was conducted in a large room by agents dressed

   in business attire. Defendant was permitted to use the restroom and moreover, was provided

   with the opportunity to leave the premises and stay at a hotel overnight. Furthermore, even after

   Padilla was shown the grand jury subpoena, he was offered the opportunity to travel to New York

   voluntarily. These facts all have particularly compelling resonance in light of Moya’s more

   lenient standard for “custody” determinations at United States entry points.

          Padilla’s persistent reliance on United States v. Griffin, 7 F.3d 1512 (10th Cir. 1993), is

   misplaced. The encounter in Griffin, deemed custodial by the Tenth Circuit, did not occur at an

   entry point to the United States, but rather, while the defendant was seeking to board a domestic

   flight. In that particular instance, the court held that it was not unreasonable for a person in the

   defendant’s position to feel the type of restraint that necessitates Miranda warnings. On the

   other hand, as Judge Brown correctly recognized, this encounter occurred at an entry point to the

   United States, and was marked by evidence suggesting unrestrained voluntarily made statements

   by Padilla. Thus, this encounter is more akin to the circumstances in Moya, and falls squarely

   within the contours of this Circuit’s established Miranda jurisprudence regarding questioning at

   entry points to the United States.

          Furthermore, Defendant Padilla’s contention that the border questioning in this case is

   distinguishable from the cases cited by the Government is similarly unavailing. Padilla claims

   that since the questioning was conducted by FBI officials and not customs agents, the facts in this


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   case are markedly different than those set forth in United States v. Fernandez-Ventura, 132 F.3d

   844 (1st Cir. 1998). However, this illusory distinction is premised on an erroneous foundation.

   The crux of this argument is that the holdings in the border-interrogation cases somehow suggest

   that only questioning by customs agents are entitled to the more lenient Miranda standard

   articulated in Moya. There is nothing in these holdings, however, to suggest that the more

   flexible standard is relegated to instances where customs officials are conducting the questioning.

   Notably, in Moya, it was not customs officials but rather INS officials that questioned the

   defendant.

          The court’s language in Moya expressly dispels any inference that the degree of

   permissible security questioning at the border is contingent upon the type of agent conducting the

   inquiry. The Eleventh Circuit places the focus on the questioning itself, rather than the title of

   the questioning agent. Markedly, Moya notes that “some degree of questioning and delay is

   necessary and is to be expected at entry points to the United States,” but does not specify that

   only a customs agent may conduct this questioning. Additionally, the rationale and policy behind

   the more lenient Miranda standard is premised on “the strong governmental interest in

   controlling the borders.” See Moya, 74 F.3d at 1119. This quintessential sovereign

   responsibility is effectuated by ensuring that the borders to this country are adequately policed

   and scrutinized. Thus, it would not comport with the rule’s protective scope to arbitrarily limit

   the class of agents who can conduct border inquiries, especially when the line of questioning

   serves the same fundamental sovereign security interests.

          Additionally, there is no fixed limit to the length of questioning permitted to sustain an

   interrogation’s non-custodial status. McDowell, 250 F.3d at 1363. In fact, the Eleventh Circuit


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   specifically noted that when a suspect is prolonging the questioning by being deceitful or

   providing conflicting accounts of events, a prolonged interrogation is even more justifiable. See

   id. (holding that the four-hour duration of the inquiry did not convert it into a ‘custodial

   interrogation’). Thus, in this case it was reasonable for Judge Brown to find that the three-hour

   interrogation of Defendant Padilla did not rise to a custodial level.

           Moreover, the four agents did not display any show of force for the majority of the

   interrogation. The Magistrate notes that no force whatsoever was exhibited “until, arguably,

   Agent Fincher turned Defendant’s chair towards him and raised his voice.” Report and

   Recommendation [D.E. 549], Page 12. The Magistrate held that this singular incident did not

   raise the line of questioning to a coercive nature. In fact, the Defendant’s subsequent

   proclamation that “the interview [was] over and that it was time for [him] to go,” only lends

   further credence to this determination. Defendant’s own words suggest that he believed that he

   was free to leave, thus this Court need not even consider whether a “reasonable man” in this

   situation would feel restraint on his freedom of movement to the degree associated with formal

   arrest, since Padilla himself did not feel such restraint.

           Finally, Magistrate Judge Brown did not err in deciding that Padilla’s proffered classified

   evidence, offered to show that Agent Fincher was biased, was irrelevant. First, despite the

   opportunity to do so, Padilla failed to testify and refute Agent Fincher’s portrayal of the events.

   Additionally, Agent Fincher’s depiction of the events was corroborated by the testimony of the

   other agents whose testimony Padilla does not attack. Finally, assuming arguendo, that Agent

   Fincher did have a motive to lie, the Judge still correctly found that there was no evidence

   suggesting that Fincher actually did lie at the suppression hearing. Thus, Magistrate Brown’s


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   decision to disallow introduction of the classified evidence on relevance grounds was a

   reasonable one sufficiently supported by the record.



          IV.     CONCLUSION

          This Court finds that Defendant Padilla has failed to make a sufficient showing that his

   May 8, 2002 airport statements should be suppressed due to the lack of a knowing and voluntary

   waiver of his Miranda rights. Rather, the Government has adequately exhibited that despite the

   lack of a Miranda warning, the fruit of the interrogation conducted at the airport is admissible

   because such interrogation was not custodial in nature. The airport questioning did not rise to a

   level that would induce a reasonable man in Padilla’s position to feel a restraint on his freedom

   of movement to such extent that he would not feel free to leave. Furthermore, this Circuit has

   recognized border-interrogations as a “notable exception” to the customary Miranda line of

   questioning. Accordingly, the Eleventh Circuit has adopted a more lenient standard to define the

   contours of permissible questioning in light of the compelling government interest in protecting

   and securing our borders. This Court finds that Defendant Padilla was not in “custody” when he

   made his airport statements to FBI agents, thus obviating the need for a Miranda warning.

          Accordingly, it is

          ORDERED and ADJUDGED that United States Magistrate Judge Stephen T. Brown's Report

   and Recommendation is AFFIRMED and ADOPTED.

          ADJUDGED that Defendant Jose Padilla’s Motion to Suppress Statements, filed April 19, 2006

   [D.E. 291] is DENIED.




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          DONE and ORDERED in Chambers at Miami, Florida, this 17th day of November, 2006.




   Copies furnished to All Counsel of Record




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